                      CASE 0:11-cr-00280-MJD-BRT                          Doc. 874           Filed 02/06/15              Page 1 of 1
AO 247 (Rev. 11/11)     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. ' 3582(c)(2)        Page 1 of 2 (Page 2 Not for Public Disclosure)


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                                 District of Minnesota

                      United States of America
                                 v.
                      JUDY LYNN REDHORN                                       )   Case No: 11-CR-280 (18)
                                                                              )   USM No:
Date of Original Judgment:         12/11/2012                                 )
Date of Previous Amended Judgment:                                            )   Katherine Menendez
(Use Date of Last Amended Judgment if Any)                                    )   Defendant=s Attorney
                                                                              )

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. ' 3582(c)(2)
        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
' 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
' 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG '1B1.10 and
the sentencing factors set forth in 18 U.S.C. ' 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. X GRANTED and the defendant=s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of 60                months is reduced to               42 months              .
                                               (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                        12/11/2012                shall remain in effect.
IT IS SO ORDERED.
                                                                                                      s/ Michael J. Davis
Order Date:                February 5, 2015


Effective Date: November 1, 2015                                                               Chief Judge Michael J. Davis
                       (if different from order date)



AO 247 (Rev. 11/11)    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. ' 3582(c)(2)    Page 2 of 2 (Page 2 Not for Public Disclosure)
